    Case: 2:23-cv-01598-KAJ Doc #: 22 Filed: 01/23/24 Page: 1 of 14 PAGEID #: 241


                                IN THE U.S. DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION
                                        COLUMBUS

 CADEN COX, by and through his next friend
 and mother, MARI COX

              Plaintiff,                                  JUDGE EDMUND A. SARGUS, JR.

                                                          MAGISTRATE JUDGE JOLSON
        v.
                                                          CASE NO.: 2:23-cv-1598

HOCKING COLLEGE BOARD OF
TRUSTEES, et al.,;

              Defendants.


                  PLAINTIFF'S NOTICE OF THIRD-PARTY SUBPOENAS
                             TO PRODUCE DOCUMENTS

       Pursuant to Fed. R. Civ. P. 45(a)(4), Plaintiff Caden Cox ("Plaintiff') hereby gives notice of

serving third-party subpoenas to produce documents. A copy of each subpoena is attached.

                                                          Respectfully submitted,

                                                          Isl Mark A. Weiker, Esq.
                                                          Mark A. Weiker (0086413)
                                                          ABDNOUR WEIKER, LLP
                                                          262 S. 3rd Street
                                                          Columbus, Ohio 43215
                                                          P: (614) 745-2001
                                                          F: (614) 417-5081
                                                          E: mark@education-rights.com
                                                          Counsel/or Plaintiff Caden Cox
 Case: 2:23-cv-01598-KAJ Doc #: 22 Filed: 01/23/24 Page: 2 of 14 PAGEID #: 242



                                 CERTFICATE OF SERVICE

       The undersigned hereby certifies that on January 23, 2024, copies of the foregoing Notice

were filed electronically and will be served upon the parties by operation of the Court's electronic

filing system. Parties may access this filing through the Court' s system.

                                                             Isl Mark A. Weiker, Esq.
                                                              Mark A. Weiker (0086413)
                                                              ABDNOUR WEIKER, LLP
             Case: 2:23-cv-01598-KAJ Doc #: 22 Filed: 01/23/24 Page: 3 of 14 PAGEID #: 243
 AO 88B (Rev. 02/ I4) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                             for the
                                                              Southern District of Ohio

   Caden Cox, by and through Next Friend, Mari Cox                              )
                                Plaintiff                                       )
                                                                                         Civil Action No.           2 :23-cv- 1598
                                    V.                                          )
  Hocking College Board of Trustees, Dr. Betty Young,                           )
                        et al.                                                  )
                               Defendant                                        )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CML ACTION

 To:                         Elizabeth Dennis, 6901 Beechwood Apt. A, Athens, 45701 (edennis65@gmail.com)

                                                         (Name ofperson to whom this subpoena is directed)

     ~ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 material:See attached description. You may email or mail the records in lieu of delivering them in-person to the place
          identified below.


   Place: Mark A. Weiker                                                                  Date and Time:
          262 S. 3rd Street                                                                                    02/26/2024 5:00 pm
          Columbus, Ohio 43215

      □ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 IPlace:                                                                                IDate and Time:

         The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        01/23/2024                                                                                 "'     /                               .   /

                                    CLERK OF COURT                                               c::::-.-1--::.__,L j._,,- {__
                                                                                             OR                /s/ Mark A. Weiker (0086413)
                                  - - --   - - - -- -- - -- -                                                           Attorney 's signature
                                      Signature of Clerk or Deputy Clerk


 The name, address, e-mail address, and telephone number of the attorney representing (name ofparry)
=
C~a=d=
     en'-'---=C'-"o"'"'x-'--'-
                           P= la=in=ti:.ff
                                        :. :_ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ , who issues or requests this subpoena, are:
 Mark A. Weiker, 262 S. 3rd Street, Columbus, Ohio 43215, mark@education-rights.com, (614) 745-2001

                                         Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
              Case: 2:23-cv-01598-KAJ Doc #: 22 Filed: 01/23/24 Page: 4 of 14 PAGEID #: 244

 AO 88B (Rev. 02/1 4) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                                (ii) disclosing an unretained expert's opinion or information that does
                                                                                    not describe specific occurrences in dispute and results from the expert' s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                 study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows :                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within I 00 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may , instead of quashing or
regularly transacts business in person; or                                          modifying a subpoena, order appearance or production under specified
   (8) within the state where the person resides, is employed, or regularly         conditions if the serving party:
transacts business in person, if the person                                              (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party' s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                    (e) Duties in Responding to a Subpoena.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) ProdJ,cing Documents or Electronically Stored lnformatio11. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (8) Form for Producing E/ectronical(v Stored Information Not Specified.
  (1) Avoidi11g U11due Burden or Expe11se; S011ctio11s. A party or attorney        !fa subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          infonnation, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction-which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees--0n a party or attorney who           information in more than one fonn .
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
  (2) Comma11d to Produce Materials or Permit /11spection.                         from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the in formation is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). ·n1e court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or             (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises--0r to            (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.         under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. !fan objection is made,             (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
      (i) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (8) Information Produced. If information produced in response to a
      (ii) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quaslti11g or Modifying a Subpoena.                                           information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved ; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permilled. To protect a person subject to or affected by a              The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information ; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
   Case: 2:23-cv-01598-KAJ Doc #: 22 Filed: 01/23/24 Page: 5 of 14 PAGEID #: 245



Description of requested records:



All communications, correspondence and/or documents related to the consideration of, interviewing,
on boarding or hiring of Matthew Kmosko by Hocking College or Dr. Betty Young, including but not
limited to communications between you and Dr. Betty Young, or any other Hocking College official or
former official, between the dates of April 1, 2021 and the present.

The documents produced are limited to communications pertaining to Matthew Kmosko, as identified
above. The documents produced should include, but not be limited to text messages, emails, SMS
messages, voice messages, resumes, and/or handwritten notes on the subject. The documents produced
should include responsive information, even if such information is maintained on a personal electronic
device.
            Case: 2:23-cv-01598-KAJ Doc #: 22 Filed: 01/23/24 Page: 6 of 14 PAGEID #: 246
AO 88B ( Rev. 02/14) Subpoena to Produce Documents, Information, or Object s or to Permit Inspection of Premises in a Civ il Action



                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                              Southern Di strict of Ohio

  Caden Cox, by and through Next Friend, Mari Cox
                                                                                )
                                Plaintiff                                       )
                                   V.                                           )        Civil Action No. 2 :23 -cv- 1598
 Hocking College Board of Trustees, Dr. Betty Young ,                           )
                       et al.                                                   )
                               Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                        Jim Edwards, 1 W Columbus St, Nelsonville, OH 45764-1111

                                                        (Name ofperson to whom this subpoena is directed)

       tf
        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached description. You may email or mail the records in lieu of delivering them in-person to the place
          identified below.


  Place: Mark A. Weiker                                                                   Date and Time:
         262 S. 3rd Street                                                                                      02/26/2024 5:00 pm
         Columbus, Ohio 43215

     0 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.


 IPlace                                                                                 I Date and Time:


        The following provi sions of Fed. R. Civ. P. 45 are attached- Rul e 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.



                                                                                                       -jtL
Date:        01/23/2024

                                   CLERK OF COURT
                                                                                              OR
                                                                                                               /s/ Mark A. Weiker (0086413)
                                            Signature of Clerk or Deputy Clerk                                          Attorney 's signature


The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)
Caden Cox Plaintiff                                                                                , who issues or requests this subpoena, are:
Mark A. Weiker, 262 S. 3rd Street, Columbus, Ohio 43215, mark@education-rights.com , (614) 745-2001

                                        Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangib le things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Ci v. P. 45(a)(4).
             Case: 2:23-cv-01598-KAJ Doc #: 22 Filed: 01/23/24 Page: 7 of 14 PAGEID #: 247

  AO 888 (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Prem ises in a Civil Action(Page 3)

                                Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
  (c) Place of Compliance.                                                                (ii) disclosing an unretained expert's opinion or information th at does
                                                                                     not describe specific occurrences in dispute and results from the expert's
   (1) For a Trial, Hearing, or Deposition. A subpoena may command a                 study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as fo llows:                     (C) Specifying Conditions as an Alternalive. In the circumstances
    (A) within I 00 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(8), the court may, instead of quashing or
 regularly transacts business in person; or                                          modi fying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly         conditions if the serving party:
 transacts business in person, if the person                                              (i) shows a substantial need for the testimony or material that cannot be
       (i) is a party or a party's officer; or                                       otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur substantial                (ii) ensures that the subpoenaed person will be reasonably compensated.
 expense.
                                                                                     (e) Duties in Responding to a Subpoena.
   (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or                 (1) Producing Documents or Electronically Stored lnformatio11. These
 tangible things at a place within l 00 miles of where the person resides, is        procedures apply to producing documents or electron ically stored
 employed, or regularly transacts business in person; and                            information:
    (B) inspection of premises at the premises to be inspected.                         (A) Documents. A person responding to a subpoena to produce documents
                                                                                     must produce them as they are kept in the ordinary course of business or
 (d) Protecting a Person Subject to a Subpoena; Enforcem ent.                        must organize and label them to correspond to the categories in the demand.
                                                                                        (B) Form fo r Producing Electronically Stored Information Not Specified.
   (1) Avoiding Und11e B11rden or Expense; Sanctions. A party or attorney            !fa subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps           informat ion, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the                which it is ord inarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must                 (C) Electronically Stored Information Produced in Only One Form. The
 enforce this duty and impose an appropriate sanction-which may include             person responding need not produce the same electronically stored
 lost earnings and reasonable attorney's fees-on a party or attorney who            in fo rm ation in more than one form.
 fails to comply.                                                                       (D) Inaccessible Electronically Stored Information. The person
                                                                                    responding need not provide discovery of electronicall y stored information
   (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
     (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronicall y stored information, or tangible things, or to           order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
 production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
 hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
    _(B) Objections._ A persm1 commanded to produce documents or tangible           26(b )(2)(C). The court may specify conditions for the discovery.
 tbmgs or to penmt mspect1on may serve on the party or attorney designated
m the subpoena a written objection to inspecting, copying, testing, or               (2) Claiming Privilege or Protection.
sampl ing any or all of the materials or to inspecting the premises-or to             (A) Information Withhe ld. A person withholding subpoenaed in formation
producing electronical ly stored infom:iation in the form or forms requested.       under a cl aim that it is privileged or subject to protection as trial-preparation
The obJecuon must be served before the earlier of the time specified for            material must:
compliance or 14 days after the subpoena is served. Ifan objection is made,              (i) expressly make the claim ; and
the following rules apply:                                                               (ii) describe the nature of the withheld documents, communications, or
       (i) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an             privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection .                                           (B) Information Produced. ff information produced in response to a
       (ii) These acts may be required onl y as directed in the order, and the      subpoena is subject to a claim of privilege or of protection as
o_rder must protect a person who is neither a party nor a party's officer from      trial-preparation material, the person making the claim may noti fy any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion , the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
      (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
      (ii) requires a person to comply beyond the geographical limits              compliance is requ ired for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the inf01mation must preserve the information until the claim is
      (iii) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or                      .
      (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permilled. To protect a person subject to or affected by a              The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court-may hold in contempt a person
motton, quash or modi fy the subpoena ifit requires:                               who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research                subpoena or an order related to it.
development, or commercial in formation; or                         '



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
   Case: 2:23-cv-01598-KAJ Doc #: 22 Filed: 01/23/24 Page: 8 of 14 PAGEID #: 248



Description of requested records:



All communications, correspondence and/or documents related to the consideration of, interviewing or
hiring of Matthew Krnosko by Hocking College or Dr. Betty Young, including but not limited to
communications between you and Dr. Betty Young, or any other Hocking College official, between the
dates of April I, 2021 and August I, 2021. The documents produced are limited to communications
pertaining to Matthew Krnosko, as identified above. The documents produced should include, but not be
limited to text messages, emails, SMS messages, voice messages, resumes, and/or handwritten notes on
the subject.
            Case: 2:23-cv-01598-KAJ Doc #: 22 Filed: 01/23/24 Page: 9 of 14 PAGEID #: 249

 AO 88 8 (Rev . 02/14 ) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premi ses in a Civil Action



                                         UNITED STATES DISTRICT COURT
                                                                              for the
                                                                Southern Di strict of Ohio

   Caden Cox, by and through Next Friend , Mari Cox                               )
                                 Plain/if!                                        )
                                    V.                                            )        Civil Action No. 2 :23 -cv- 1598
  Hocking College Board of Trustees, Dr. Betty Young ,                            )
                        et al.                                                    )
                                Defendanl                                         )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                            David Kasler, c/o Zonez, 1002 East State Street, Suite 22, Athens, Ohio 45701
                                                          (davekasler@gmail.com)
                                                          (Name of person lo whom this subpoena is direc/ed)

     ~ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit inspection, copyi ng, testing, or sampling of the
 material:See attached description . You may email or mail the records in lieu of delivering them in person to the place
          identified below.


  Place : Mark A. Weiker                                                                    Date and Time:
          262 S. 3rd Street                                                                                       02/26/2024 5:00 pm
          Columbus, Ohio 43215

      0 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the req uesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 I Place,                                                                                 IDate and Time,

        The following provisions of Fed. R. Civ. P. 45 are attached- Rul e 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

 Date:        01/23/2024

                                    CLERK OF COURT
                                                                                               OR

                                             Signature o,/ Clerk or Deputy Clerk                                          A 1/orney 's signature


The name, address, e-mail address, and te lephone number of the attorney representing (name ofparty)
Caden Cox Plaintiff                                                                                 , who issues or reques ts this subpoena, are:
Mark A. Weiker, 262 S. 3rd Street, Columbus, Ohio 43215, mark@education-rights.com , (614) 745-2001

                                         Notice to the person who issues or requests this subpoena
If th is subpoena commands the production of documents, electronically stored information, or tangib le thinos or the
!n~pection of premises before trial, a notice and a copy of the subpoena must be served on each party in this°case before
1t 1s served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
             Case: 2:23-cv-01598-KAJ Doc #: 22 Filed: 01/23/24 Page: 10 of 14 PAGEID #: 250
AO 888 (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Perm it Inspection of Premises in a Civi l Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                               (ii) disclosing an unretaincd expert's opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert's
  (l) For a Trial, Heari11g, or Deposition. A subpoena may command a              study that was not requested by a party.
person to attend a trial , hearing, or deposition onl y as follows:                  (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3)(8), the court may, instead of quashing or
regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is empl oyed, or regularly      conditions if the serving party:
transacts business in person, if the person                                            (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party' s officer; or                                    otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial              (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (e) Duties in Responding to a Subpoena.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronicall y stored information, or              (I) Prod11ci11g Documents or Electro11ically Stored lnformatio11. These
tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronica lly stored
employed, or regularly transacts business in person; and                          infom1ation:
   (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                     (B) Form for Producing Electronically Stored information No t Specified.
  (I) Avoidi11g Und11e B11rden or Expense; Sa11ctions. A party or attorney        If a subpoena does not specify a form for producing electroni ca ll y stored
responsible fo r issuing and serving a subpoena must take reasonable steps        information, the person respond ing must produce it in a fonn or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usa ble fom1 or fonns.
subpoena. The court for the district where compliance is required must               (C) Elec/ronically Stored Informa tion Produced in Only One Form. The
enforce this duty and impose an appropri ate sanction- which may include          person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees--on a party or attorney who          information in more than one form.
fai ls to comply.                                                                    (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electron ically stored information
  (2) Command to Produce Materials or Permit Inspection.                          from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored in fo rmation, or tangible things, or to         order, the person responding must show that the information is not
pem1it the inspection of premises, need not appear in person at the place of      reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery fro m such so urces if the
hearing, or trial.                                                                requesting party shows good cause, cons idering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b )(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claiming Privilege or Protectio11.
sampling any or all of the materials or to inspecting the premises--or to           (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim that it is privileged or subject to protection as trial -preparation
TI1e objection must be served before the earlier of the time specified for        material must:
compliance or 14 days after the subpoena is served. I fan objection is made,           (i) expressly make the claim; and
the fo llowing rules apply:                                                            (ii) describe the nature of the wi thheld documents, communications, or
      (i) At any time, on noti ce to the commanded person, the serving party      tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, wi ll enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced. lfi nfonnation produced in response to a
      (ii) TI1ese acts may be required on ly as directed in the order, and the    subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's oflicer from     trial-preparation material, the person making the claim may noti fy any party
significant expense resulting from compli ance.                                   that received the information of the claim and the basis fo r it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a S11bpoe11a.                                          information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion , the court fo r the district where        until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      information if the party disclosed it before being notified; and may promptly
     (i) fails to al low a reasonable time to comply;                             present the infom1ation under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a detem1ination of the claim. The person who
specified in Ru.le 45(c):                                                         produced U1e information must preserve the in formation until the claim is
     (iii) requires disclosure of privileged or other protected matter. ifno      reso lved.
exception or waiver appl ies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permif/ed. To protect a person subject to or affected by a             The court for the district where compliance is required- and also, after a
subpoena, the court for the district where compli ance is required may, on        motion is transferred. the issuing court- may hold in contem pt a person
motion , quash or modify the subpoena ifit requires:                              who, having been served, fai ls witho ut adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research.               subpoena or an order related to it.
development, or com mercial infonnation; or



                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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Description of records requested:



Any and all communications, documents or correspondence, including but not limited to text messages,
SMS messages, emails, estimates, invoices, or voice recordings between you and any Hocking College
employee, agent or representative, which relates in any way to graduation awards or plaques ordered,
cancelled or produced by you or Zonez for Hocking College, its employees, students, agents or
representatives, between October I, 2022 and January 3 I, 2023.
           Case: 2:23-cv-01598-KAJ Doc #: 22 Filed: 01/23/24 Page: 12 of 14 PAGEID #: 252

AO 88B (Rev. 02/ 14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                             Southern District of Ohio

   Caden Cox, by and through Next Friend, Mari Cox                             )
                               Plaintiff                                       )
                                   V.                                          )        Civil Action No. 2:23-cv- 1598
 Hocking College Board of Trustees, Dr. Betty Young,                           )
                       et al.                                                  )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                          Melissa Kasler, c/o Zonez, 1002 East State Street, Suite 22, Athens, Ohio 45701
                                                        (zonezofathens@gmail.com)
                                                        (Name ofperson to whom this subpoena is directed)

     ~ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 material: See attached description. You may email or mail the records in lieu of delivering them in person to the place
           identified below.


  Place: Mark A. Weiker                                                                  Date and Time:
           262 S . 3rd Street                                                                                 02/26/2024 5:00 pm
           Columbus, Ohio 43215

      □ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 IPlace:                                                                               I Date and Time:




         The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date :      01/23/2024

                                   CLERK OF COURT
                                                                                             OR
                                                                                                              Isl Mark A. Weiker (0086413)
                                           Signature of Clerk or Deputy Clerk                                          Attorney 's signature


 The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)
Caden Cox Plaintiff                                                      , who issues or requests this subpoena, are:
Mark A. Weiker, 262 S. 3rd Street, Columbus, Ohio 43215, mark@education-rights.com, (614) 745-2001

                               Notice to the person who issues or requests this subpoena
!fthis ~ubpoena commands the production of documents, electronically stored information, or tangible things or the
~n~pect10n of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
It IS served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
           Case: 2:23-cv-01598-KAJ Doc #: 22 Filed: 01/23/24 Page: 13 of 14 PAGEID #: 253


 AO 88B (Rev. 02/ 14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                               Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                               (ii) disclosing an unretained expert's opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert' s
   (1) For a Trial, Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows :                   (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3)(B), the court may, instead of quashing or
 regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
 transacts business in person, if the person                                            (i) shows a substantial need for the testimony or material that cannot be
       (i) is a party or a party' s officer; or                                    otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur substantial              (ii) ensures that the subpoenaed person will be reasonably compensated.
 expense.
                                                                                   (e) Duties in Responding to a Subpoena.
   (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or               (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronically stored
 employed, or regularly transacts business in person; and                           information:
    (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                       (B) Form for Producing Electronically Stored Information Not Specified.
   (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney            If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms .
 subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form. The
 enforce this duty and impose an appropriate sanction-which may include            person responding need not produce the same electronically stored
 lost earnings and reasonable attorney's fees-on a party or attorney who           information in more than one form .
 fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
  (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place of      reasonably accessible because of undue burden or cost. If that showing is
 production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
 hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises-or to             (A) Information Withheld. A person withholding subpoenaed information
produc!ng electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The ob1ect1on must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,           (i) expressly make the claim; and
the following rules apply:                                                             (ii) describe the nature of the withheld documents, communications, or
      (i) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party' s officer from    trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
  (3) Quashing or Modifying a Subpoena.                                           information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      information if ihe party disclosed it before being notified; and may promptly
      (i) fails to allow a reasonable time to comply;                             present the information under seal to the court for the district where
      (ii) requires a person to comply beyond the geographical limits             compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
      (iii) requires disclosure of privileged or other protected matter, ifno     resolved.
exception or waiver applies; or
      (iv) subjects a person to undue burden.                                     (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a             The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court-may hold in contempt a person
mot10n, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,              subpoena or an order related to it.
development, or commercial information; or



                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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Description of records requested:


Any and all communications, documents or correspondence, including but not limited to text messages,
SMS messages, emails, estimates, invoices, orvoicerecordings between you and any Hocking College
employee, agent or representative, which relates in any way to graduation awards or plaques ordered,
cancelled or produced by you or Zonez for Hocking College, its employees, students, agents or
representatives, between October 1, 2022 and January 31, 2023.
